Case 5:23-cv-00595-TJC-PRL Document 27-1 Filed 06/11/24 Page 1 of 3 PageID 90




                       EXHIBIT A
Case 5:23-cv-00595-TJC-PRL Document 27-1 Filed 06/11/24 Page 2 of 3 PageID 91




                              UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                     OCALA DIVISION

JUSTIN NELSON                              Case No.: 5:23-CV-00595-JSM-PRL

            Plaintiff,

vs.

RHYNO CONSTRUCTION, INC,

      Defendant.
_______________________________________/

                               PLAINTIFF’S INITIAL DISCLOSURES

            Plaintiff, JUSTIN NELSON, provides the following information in order to satisfy the

mandatory disclosures under Rule 26(a)(1) of the Federal Rules of Civil Procedure. Investigation

by Plaintiff is ongoing, and Plaintiff may further amend or supplement these Rule 26 disclosures,

as necessary or appropriate.

      I.        Rule 26(a)(1)(A)(i) Disclosures

            1. Justin Nelson, Plaintiff

            2. Chadwick Evans

            3. Justin Nelson’s treating physicians.

                To provide information regarding Nelson’s limitations and disability.

            4. All other individuals identified through the discovery period.

            5. Records custodians for any documents needing the same.

            6. Any non-objectionable individual identified in Defendant’s Initial Disclosures.

      II.       Rule 26(a)(1)(A)(ii) Disclosures

            1. Plaintiff’s Medical Records;
Case 5:23-cv-00595-TJC-PRL Document 27-1 Filed 06/11/24 Page 3 of 3 PageID 92




                                                                         Case No.: 5:23-CV-00595
                                                                                          Page 2

          2. Plaintiff’s communications with Defendant;

          3. Documents associated with the EEOC investigation;

          4. Documents identified during discovery, subject to Plaintiff’s objections;

          5. Documents received from Defendant, subject to Plaintiff’s objections; and

          6. Documents identified by Defendant in Defendant’s disclsoures, subject to Plaintiff’s

             objections.

   III.      Rule 26(a)(1)(A)(iii) Disclosures

             Plaintiff is entitled to damages based upon Defendant’s conduct. Plaintiff’s damages

             include pain and suffering, lost wages and lost incidentals. A firm number has not

             been determined.



                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished via

the federal PACER system on this 13th day of May, 2024, to Benjamin Bard, Esq., Benjamin

Briggs, Esq., and Erica Pope, Esq..

                                                       KURTZ LAW OFFICES, LLC
                                                       200 E Robinson St. Ste 1120
                                                       Orlando, FL 32801
                                                       Direct Line: (407)987-4520

                                                       By: /s/ Serena M. Kurtz
                                                       SERENA M. KURTZ, ESQ.
                                                       Florida Bar No.: 0088683
